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EXHIBIT “E”
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E*TRADE Securities LLC
EXTRADE Harborside Financial Center
FINANCIAL 501 Plaza 2

Jersey City, NJ 07311

www.etrade.com
Member FINRA/SIPC

October 19, 2017

VIA FED EX

Attn: NYS Tax
RE: NYS Levy: Martin Shkerli: Levy aerate

Dear NYS Tax:

E*TRADE Securities LLC was served with a Federal Restraining Order from the US District Court,
Eastern District of New York on January 07, 2016 to restrict all assets for Martin Shrkell. Also, we have an
additional request to restrict the account, pursuant to an IRS levy.

if you have any questions, please feel free to contact the undersigned at (201) 499 9834 or fax to my
attention at (703) 236-4879.

Sincerely,

a

Douglas DePaola
Legal Process Manager
E*TRADE Securities LLC
